        Case 1:25-cv-01144-JAV           Document 53        Filed 02/13/25      Page 1 of 5




                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


   STATE OF NEW YORK, et al.,

                                   Plaintiffs,
                             v.                            CIVIL ACTION
                                                           25-cv-1144 (JAV)
   PRESIDENT DONALD TRUMP, et al.,

                                   Defendants.


  UNOPPOSED MOTION BY THE STATE OF IOWA AND 19 OTHER STATES FOR
    LEAVE TO FILE AMICUS CURIAE BRIEF IN SUPPORT OF DEFENDANTS

       The State of Iowa and 19 other States respectfully move for leave to submit the attached

amicus curiae brief in support of Defendants. The proposed amicus brief is attached to this motion.

Plaintiffs and Defendants do not object to the filing of this amicus brief. Proposed Amici are States

with a vested interest in ensuring the proper interpretation of the Constitution. Plaintiffs’ attempt

to assert themselves into the operation of the Executive branch of federal government is improper.

And given that the Plaintiffs in this case are also States, amici’s perspective ensures that the Court

is aware of strong counterarguments from States as to how their position may affect State interests.

       The States’ Motion for Leave to File an Amicus Brief is timely. Mindful of how this matter

is proceeding expeditiously, the States filed its brief promptly after this Court’s decision setting a

hearing. (Dkts. 28, 29.) This Amicus Brief was filed prior to this Court’s scheduled hearing

regarding a preliminary injunction on February 14, 2025. (Dkt. 29.)

       Federal district courts possess the inherent authority to accept amicus briefs. Boston Gas

Co. v. Century Indem. Co., 2006 WL 1738312, at *1 n.1 (D. Mass. 2006). The role of an amicus

curiae “is to assist the court in cases of general public interest by making suggestions to the court,

by providing supplementary assistance to existing counsel, and by ensuring a complete and plenary

                                                  1
        Case 1:25-cv-01144-JAV           Document 53        Filed 02/13/25       Page 2 of 5




presentation of difficult issues so that the court may reach a proper decision.” Students for Fair

Admissions, Inc. v. President & Fellows of Harvard Coll., 308 F.R.D. 39, 52 (D. Mass.) (internal

quotations omitted). Indeed, federal district courts “frequently welcome amicus briefs from non-

parties concerning legal issues that have potential ramifications beyond the parties directly

involved.” NGV Gaming, Ltd. v. Upstream Point Molate, LLC, 355 F.Supp.2d 1061, 1067 (N.D.

Cal. 2005).

        No Federal Rule or statute dictates how district judges decide petitions to appear as amicus

curiae. But most courts “look to the Federal Rules of Appellate Procedure for guidance on

permitting amicus briefs.” Friends of Animals v. United States Fish & Wildlife Serv., 2021 WL

4440347, at *1 (D. Utah 2021). The Federal Rules of Appellate Procedure allow a State to file an

amicus brief “without the consent of the parties or leave of court.” Fed. R. App. P. 29(a)(2). That

rule reveals a strong policy preference for allowing States to provide their perspective and

represent their interests.

        Defendants raise serious concerns relating to Plaintiffs’ standing to bring this suit. But none

of those concerns extend to the traditional role of amici—nonparties acting as friends of the Court

to bring their unique perspective to highlight foreseeable consequences of the Court’s actions.

States are invested in our Federalist system and, as States are Plaintiffs here, proposed amici curiae

will provide a unique and helpful counter-perspective to the Court.

        Because of the States’s important role in our Constitutional order in our federalist system,

the States have a unique perspective “that can help the court beyond the help that the lawyers for

the parties are able to provide.” Ryan v. Commodity Futures Trading Comm’n, 125 F.3d 1062,

1064 (7th Cir. 1997). This Court would benefit from following the guidance of the Federal Rules

and granting the motion.



                                                  2
        Case 1:25-cv-01144-JAV          Document 53        Filed 02/13/25     Page 3 of 5




                                        CONCLUSION

       For the above reasons, the State of Iowa and 19 other States request the Court’s leave to

file an amicus brief.


 Dated: February 13, 2025                           Respectfully submitted,


 BRENNA BIRD                                        By: /s/ David H. Thompson
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 admission forthcoming

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                                                3
          Case 1:25-cv-01144-JAV          Document 53       Filed 02/13/25      Page 4 of 5




                                  CERTIFICATE OF SERVICE

          I certify that on February 13, 2025, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system, which automatically sends email notification of such filing

to registered participants. Any other counsel of record will receive the foregoing via email in PDF

format.

                                                       /s/ David H. Thompson
                                                       David H. Thompson

                                                       Counsel for Amici Curiae




                                                   4
        Case 1:25-cv-01144-JAV          Document 53        Filed 02/13/25     Page 5 of 5




                               CERTIFICATE OF CONFERRAL

       I hereby certify that Counsel for the Amicus has conferred with the parties about the relief

sought in this motion. The Defendants have indicated that they take no position to this motion. The

Plaintiffs have indicated that they do not object to this motion.


                                                              /s/ David H. Thompson
                                                              David H. Thompson

                                                              Counsel for Amici Curiae




                                                  5
